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EXHIBIT A

 
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Terry Geltmacher IN THE MONROE COUNTY
42 Cobblewood Drive COURT OF COMMON PLEAS =
Mt. Pocono, PA 18344, = =
Civil Action = = 2
Plaintiff a °
v. N. 094-6 TSE
er) a=
Discover Financial Services Jury Trial Demanded = ES
2500 Lake Cook Road x 73

Riverwoods, JL 60015, ~-

 

Defendant

NOTICE

You have been sued in court, If you wish to defend against the claims set forth in the
following pages, you must take action within twenty (20) days after this complaint and notice are
served, by entering a written appearance personaily or by attorney and filing in writing with the
court your defenses or objections to the claims set forth against you. You are warned that if you
fail to do so the case may proceed without you and a judgment may be entered against you by the
court without further notice for any money claimed in the complaint or for any other claim or
relief requested by plaintiff(s). You may lose money or property or other rights important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW.
THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER
LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

MONROE COUNTY BAR ASSOCIATION
FIND A LAWYER PROGRAM
913 MAIN STREET
STROUDSBURG, PENNSYLVANIA 18360
Telephone (570) 424-7288
Fax (570) 424-8234

 
 

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Terry Geltmacher, IN THE MONROE COUNTY
Plaintiff COURT OF COMMON PLEAS

Civil Action z =
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Discover Financial Services, Jury Tria! Demanded o = 2
Defendant = oI 8
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COMPLAINT

I, INTRODUCTION

1. This is an action for damages brought by an individual consumer for violations of the
Telephone Consumer Protection Act, 47 U.S.C. § 227 (hereinafter “the Act”), Defendant made

multiple calls to Plaintiff on a number assigned to a cellular telephone service using equipment

regulated by the Act.

I. JURISDICTION AND VENUE

2. Jurisdiction of this Court arises under 47 U.S.C. § 227(b)(3), which permits an action

for a violation of the Act to be brought in an appropriate state court.
Venue in this Court is proper in that Plaintiff resides here, the conduct complained of

3.
occurred here, and Defendant transacts business here.
Hi. PARTIES
4, Plaintiff is a natural person residing at 42 Cobblewood Drive, Mt. Pocono, PA 18344.

5, Defendant, Discover Financial Services, is a corporation with a place of business
located at 2500 Lake Cook Road, Riverwoods, IL 60015. At all relevant times, Defendant placed

calls to individuals in this state.
 

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IV. STATEMENT OF CLAIM

6. Plaintiff is, and at all relevant times was, a “person” as defined by 47 U.S.C. §
1$3(39).

7, Defendant is, and at all relevant times was, a “person” as defined by 47 U.S.C. §
153(39).

8. Plaintiff has a cellular telephone number that he has had at all relevant times. Plaintiff

has only used this number as a cellular telephone number, and does not believe that it was ever

ported from a wireline service.

9. At all relevant times this phone number has been assigned to a cellular telephone
service.

Count 1- Violation of the Act

10. | The foregoing paragraphs are incorporated herein by reference.

1]. Congress enacted the Act to prevent real harm. Congress found that “automated or
pre-recorded calls are a nuisance and an invasion of privacy, regardless of the type of call” and
decided that “banning” such calls made without consent was “the only effective means of
protecting telephone consumers from this nuisance and privacy invasion.”

12, Defendant caused to be made an unknown number of calls to Plaintiff's cell phone
number.

13. Defendant's phone calls harmed Plaintiff by causing the very harm that Congress
sought to prevent-—a “nuisance and invasion of privacy.”

14. Defendant’s phone calls harmed Plaintiff by trespassing upon and interfering with

Plaintiffs rights and interests in Plaintiff's cellular telephone and Plaintiff's cellular telephone

line.
 

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15.  Defendant’s phone calls harmed Plaintiff by intruding upon Plaintiff's seclusion.

16. The calls made to Plaintiff's cell phone were made using either an automatic
telephone dialing system, as that term is defined in 47 U.S.C. § 227(a)(1), or an artificial or
prerecorded voice. The factual allegations in this paragraph are likely to have evidentiary support
after a reasonable opportunity for further investigation and discovery.

17. These telephone calls were not made for “emergency purposes”, as defined in 47
C.F.R. § 64.1200.

18. These telephone calls were not made with the Plaintiff's prior express consent.

19. These telephone calls were placed while Plaintiff was in the United States,

20, Pursuant to 47 U.S.C. § 227(b)(3), Plaintiff is entitled to an award of $500.00 in
statutory damages for each and every call Defendant caused to be made to Plaintiff's cellular
telephone number.

21. Plaintiff is also entitled to increased damages, as these calls were made willfully
and/or knowingly. The factual allegations in this paragraph are likely to have evidentiary support
after a reasonable opportunity for further investigation and discovery.

22‘ For each violation that was made willfully and/or knowingly, the Court may, in its

discretion, increase the amount of the award to an amount equal to, but not more than, $1,500.00

per cail.
WHEREFORE, Plaintiff demands judgment against Defendant for statutory damages

between $500.00 and $1,500.00 per call, costs, equitable relief, and such other and further relief

as the Court deems just and proper,
 

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Vv. DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury as to all issues so triable.

Gm rho

 

Brett Freeman

Bar Number: PA 308834
Sabatini Law Firm, LLC
216 N. Blakely St.
Dunmore, PA 18512
Attorney for Plaintiff
Phone (570) 341-9000
 

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Verification of Complaint and Certification
by Plaintiff Terry Geltmacher

Plaintiff, Terry Geltmacher, being duly sworn according to law, deposes as follows:
1. 1 am the plaintiff in this civil proceeding,

. 2. I have read the above-entitled civil Complaint prepared by my attorneys and I
believe that all of the facts contained in it are true, to the best of my knowledge, information and
belief formed after reasonable inquiry.

3, [ believe that this civil Complaint is well grounded in fact and warranted by

existing law or by a good faith argument for the extension, modification, or reversal of existing

law.

4. | believe that this civil Complaint is not interposed for any improper purpose,
such as to harass the Defendant, cause unnecessary delay to the Defendant, or create a needless

increase in the cost of litigation to the Defendant, named in the Complaint.
5. I have filed this civil Complaint in good faith and solely for the purposes set forth
in it.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on August_ 242... 2016. Lh = ) ee. =
erry Geltmacher, Plaintiff
